




NO. 07-07-0466-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JANUARY 10, 2008



______________________________





RAMON SANCHEZ, 



Appellant



v.



THE STATE OF TEXAS,



Appellee



_________________________________



FROM THE 364TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2007-417,577; HON. BRADLEY S. UNDERWOOD, PRESIDING



_______________________________



Abatement and Remand



_______________________________



Before QUINN, C.J., and CAMPELL and PIRTLE, JJ.

Ramon Sanchez (appellant) filed a notice of appeal from his conviction for possession of a controlled substance with intent to deliver on October 30, 2007. &nbsp;On November 12, 2007, the trial court filed its certification representing that appellant has the right of appeal. &nbsp;However, the appellate record reflects that appellant failed to sign the certification pursuant to Texas Rule of Appellate Procedure 25.2(d) which requires the certification to be signed by appellant and a copy served on him.
(footnote: 1)
	Consequently, we abate the appeal and remand the cause to the 364
th
 
District Court of Lubbock County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall take such action necessary to secure and file with this court a certificate of right to appeal that complies with Texas Rule of Appellate Procedure 25.2(d) by February 11, 2008. &nbsp;Should additional time be needed to perform these tasks, the trial court may request same on or before February 11, 2008.

It is so ordered.

Per Curiam

Do not publish.
	





FOOTNOTES
1:Became effective September 1, 2007.




